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                                                                                                        E-FILED
                                                                  Wednesday, 25 August, 2021 03:13:54 PM
                                                                             Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                PEORIA DIVISION

JASON R. SHELDON, STEVEN HUNSBERGER, )
                                     )
                      Plaintiffs,    )
                                     )
                v.                   )
                                     )
STATE FARM MUTUAL AUTOMOBILE         )                        No. 1:19-cv-01080-JES-TSH
INSURANCE COMPANY, et al.,           )
                                     )
                      Defendants.    )

                         JOINT MOTION TO STAY PROCEEDINGS
                         TO ALLOW SETTLEMENT DISCUSSIONS

       Plaintiffs Jason Sheldon and Steven Hunsberger, and Defendants State Farm Mutual

Automobile Insurance Company, State Farm Life and Accident Assurance Company, State Farm

Fire and Casualty Company, and State Farm General Insurance Company (collectively, “the

Parties”), respectfully request that this Court strike the pending deadlines and stay discovery and

other proceedings in this matter for thirty (30) days, to allow the Parties to attempt to negotiate a

settlement. In support of this motion, the Parties state:

       1.      On June 9, 2021, Plaintiffs filed a motion to compel discovery, specifically

requesting that Defendants provide verified discovery responses and participate in a Rule 30(b)(6)

deposition. (Dkt. 38.)

       2.      On August 16, 2021, after the Parties had completed briefing on Defendants’

motion for judgment on the pleadings and Plaintiffs’ motion for class certification, the Court

issued an order granting the motion to compel, directing Defendants to provide verified

interrogatory responses by August 30, 2021 and to complete a Rule 30(b)(6) deposition by

September 15, 2021.
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       3.      On August 20, 2021, Plaintiffs sent Defendants a settlement demand. Defendants

responded on August 25, 2021, indicating that they were interested in exploring whether the

Parties could reach a mutually-acceptable resolution of this matter.

       4.      The Parties would like to focus their efforts on settlement negotiations and avoid

the expense of additional discovery while discussions are ongoing.             The Parties therefore

respectfully request that the existing deadlines be stricken and that this matter be stayed for thirty

(30) days, with deadlines to be reset afterward, if necessary.

       5.      The Parties believe that thirty (30) days will be sufficient to determine if they can

successfully negotiate a settlement. The Parties also suggest a deadline of September 27, 2021 to

submit a joint status report, advising the Court on the outcome of settlement negotiations and

proposing new deadlines if necessary.

       6.      This motion is not made for purposes of delay, and the requested stay will not

prejudice any party to this action.

       WHEREFORE, the Parties respectfully request that the current deadlines, including the

deadlines set forth in the Court’s August 16, 2021 order, be stricken and that this matter be stayed

for thirty (30) days, until September 24, 2021, and that this Court set a September 27, 2021

deadline for submitting a joint report to the Court on the status of settlement negotiations and a

proposed schedule for moving forward.



Dated: August 25, 2021                                 Respectfully submitted,

JASON R. SHELDON and STEVEN                            STATE FARM MUTUAL AUTOMOBILE
HUNSBERGER                                             INSURANCE COMPANY; STATE FARM
                                                       LIFE AND ACCIDENT ASSURANCE
                                                       COMPANY; STATE FARM FIRE AND
                                                       CASUALTY COMPANY; STATE FARM
                                                       GENERAL INSURANCE COMPANY


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By: _____/s/ D.G. Pantazis (w/consent)__           By:    /s/ Joseph J. Torres_____
       One of Their Attorneys                             One of Its Attorneys

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